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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF CONNECTICUT

                                 PRO SE PRISONER CIVIL RIGHTS COMPLAINT



                                                            CASE NO.


 PLAINTIFF(S) [Write the name(s) of the person(s) complaining]
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VS.



DEFENDANT{S) [Write the name(s) of the person(s) you are suing. lf you do not know
a name, write "John Doe" or "Jane Doe." Include the defendant's rank or title if vou know




  Ll. J.          P"ss,tl
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'Complete every section and SIGN THE LAST PAGE.



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A. JURISDICTION
Because federal courts cannot hear every kind of claim, you must identify the law that
says this court can hear your claim. There are two possibilities. Check one.

I can bring my      complaint in federal court because I am suing:

     1.                     State, county or city employees for violating my federal rights
               under 42 U.S.C. Sec. 1983/1985/1986: OR

     z.                    Federal employees for violating my federal rights under Bivens v.
               Six Unknown Named Agents of Fed. Bureau of Narcotics,403 U.S. 388 (1971)
               and 28 U.S.C. Sec. 1331.


B. PLAINTIFF (THE PERSON FILING THIS COMPLAINT)
     lf there is more than one plaintiff, attach additional   pages. Provide items a, b, and c
     for each olaintiff .

          1.    First Plaintiff
               a.      Fu' Name:   llct'1 fia4e{
               b.     Inmate Numbe ,1.   lL11'l]
               c.    Correctional facility:   t4u a f
          2.   Second Plaintiff
               a.   Full Name:

               b.    lnmate Number:

               c.    Correctionalfacilitv:


c.   DEFENDANT (THE PERSON WHOSE ACTTONS YOU ARE COMPLATNTNG
     ABOUT)

     lf you are suing more than one person, attach additional      pages. Provide items a, b,
     and c for each defendant.

          1.   First Defendant
         a.           Full Name:   ,\,tl."i o S>"j, t,*1o
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            b.     RankorTitle:

                   workplace: z'l t^l'tu1l /,'Ll ui Lie*Larsi'e
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            c.                                                     '
      2.    Second Defendant
            a.   Full Name:
                                 J.h,r    ,;Ilfl   i
            b.     Rank or Title: 5 tz(1    tiutf               na*otz
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            c'     workplace:    'l-\   uotcof[            t1   lt   kl' rie]ka{rcld'
      3.       Defendant _ -..^ tl
           Third
            a. Full Name: ,) l! 'i\\* t                t



            b' Rank or Title: L t t'tVa\^l
            c.     Workplace' Itle,^,    {qCn LL
     4.    Fourth Defendant
            a.    Full Name:     h        "* (.J
            b.     Rankorfitle fi?E,,,r, et{,U,2
            c.     Workplace: d,l    LJritot/ 1;ll pa , ,n),t|hL t+,tl(' (T tblc'f
     5.    Fifth Defendant
            a.    Full Name:     etl^aecl flAll'o'e'lo
            b      RankorTitle: Ti\fz"b+ t\..ln^'"'Jtttt$tt

            c.     Workplace:    z.l vLiut+ *.tl U ,s'til<,5izql                 , cT   calu'l

     6.    Sixth Defendant
            a.    Full Name: fA,.lJA)^

            b.     Rank or Title: W AIC'A\

            c.     Workplace'.   li\wyt

D. REASON FOR COMPLA]NT

WARNING: Contact Inmate Legal Aid Program. Common mistakes can get your
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case dismissed as frivolous or for failure to state a good legal claim. lf this
happens, you will still have to pay the filing fee, even if you are proceeding in forma
pauperis. To avoid losing your filing fee, please read this information carefully and
consult Inmate Legal Aid Program before you file.

     1. Failure to use the prison grievance process before suing. lf you have not followed
all the steps in the grievance process before you come to court, the defendants may ask
the Court to dismiss your claims for "failure to exhaust administrative remedies."

   2. Complaining about incidents that happened a long time ago: lf you are suing about
events that happened more than three years ago, the defendants may ask the Court to
dismiss your case under the "statute of limitations."

   3. Suing people who were not personally involved: You can generally only sue
defendants who were directly involved in harming you. In order to sue a supervisor, you
must usually show that the supervisor knew about the actions of other defendants and
failed to stop them.

4. Suing defendants who have immunity to suit for money damages: You generally
cannot sue the following people and entities for money damages: the State of
Connecticut; agencies of the state (like the Department of Conection); the United States
government; the President of the United States (for actions taken while President); judges
(for actions taken in connection with judicial duties); parole board officers (for actions
taken in imposing parole conditions or revoking parole); prosecutors (for actions taken in
performing duties integral to the criminal judicial process). lf you think you have a claim
for money damages against such people or entities, check with Inmate LegalAid Program
first. lf you name defendants who are immune to suit from money damages and your
suit is dismissed on that basis, you will lose your filing fee.

    5. Complaining about a criminal conviction or prison disciplinary proceeding that
resulted in loss of good time credits or other change to your time in prison. lf winning
your claims "would necessarily imply the invalidity" of a criminal conviction or prison
disciplinary punishment affecting the time served, then you cannot make these claims
under Section 1983 unless you have already had the conviction or prison disciplinary
proceeding invalidated, for example through a habeas proceeding. See Heck v.
Humphrey,512 U.S. 477,487 (1994).

Please note that this is not a complete list of the problems you might encounter with your
case. The Court cannot give you legal advice and will not appoint a lawyer for you until
it is clear that you have a good legal claim. Until then, your best strategy is to call the
Inmate Legal Aid Program before you file a complaint. lf Inmate Legal Aid Program says
you do not have a good case, you should consider that advice very seriously.

Now you need to explain how your federal rights were violated (remember that not every
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violation of state law or prison regulations amounts to a violation of federal law). What
you need to tell the Court is who did what, when they did it, and how you were harmed.

You do not need to cite to the Constitution, any statutes, or any cases. However, it is
important to be specific about dates, times, and the names of the people involved. lt is
helpful to put each important fact in a separate, numbered paragraph.

lf you do not know the name of the person who harmed you, call that person Defendant
Doe and provide some information from which it will be possible to identify the person -
for example, gender, rank and shift. lf there is more than one defendant whose name
you do not know, call them Defendant Doe1, Defendant Doe2, and so on.

Here is an example of the proper way to describe your claims:

Example of Statement of Case
1. On April 12,2015, I fell and injured my foot during a basketball game with other
onsoners.
2. After the game, I asked Defendant CO Brian Smith to let me see the nurse. Defendant
CO Brian Smith told me that I could not see the nurse because it was not an emergency.
3. During the afternoon, my foot became swollen and very painful.
4. At about 5 p.m., in the presence of my cellmate Bill Bloggs, I told Defendant Lieutenant
Jane Doe, who was the shift supervisor, that I needed a doctor and showed her my
swollen foot.
5. Defendant Lieutenant Jane Doe brought me two Tylenol and told me that I could not
see the nurse until sick call the next morning.
6. The next day, I could not get out of bed because my foot was so swollen and painful. I
had to go to hospital and have an operation to fix my foot.
7. I had to take pain medication for two months after the operation and have needed a
walking stick for support since that time.
Now describe your claims.

Statement of Case
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lf you need more space, attach additional pages, but be as brief as possible.

E.       REQUEST FOR RELIEF
Tell the court what kind of relief you want. Remember: (1) You can only get money
damages for mental or emotional injury if you were also physically injured; (2) Money
damages may be reduced to pay restitution to victims of your crime and fees for a court-
appointed attorney, if you had one; (3) You cannot use a Section 1983 or Blvens action
to request release from custody, a reduction in your sentence, or a restoration of good
time credits. For any of these, you must request a Writ of Habeas Corpus.




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F.     DO YOU WISH TO HAVE A JURY              TRIAL? YES       \./   NO

G.     DECLARATION UNDER PENALTY OF PERJURY

Warning: You must sign this or your complaint will not be filed.

By signing this complaint, I certify under penalty of perjury that the information contained
in this complaint is true and accurate to the best of my knowledge. I understand that if I
lie in this complaint, I may be prosecuted for perjury, and punished with as much as five
(5) years in prison and/or a fine of $250,000. See 18 U.S.C. Sections 1621 ,357'1 .




Signed at                                            on   \ la'/1 .J.;/
                                  (Location)
                                  (Location)                          (Date)


lf there are additional plaintiffs, attach another page with the name and signature of each
plaintiff onit. The complaint cannot be filed without a signature from each plaintiff.

H.    FINAL INSTRUCTIONS

WARNING: Your complaint will not be filed unless you complete each of these steps:

      1.          Answer all questions on the complaint form.

      2.          Sign the Declaration under Penalty of Perjury on p. 7

Remember, the Clerk cannot file your complaint unless you take all of the steps above.




Revrsed 4/13/18
                                               7
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                                 STATE OF CONNECTICUT
                                        DEPARTMENT OF CORRECTION
                                             South District Offtce
                                              944 Highland Ave
                                               CHESHIRE, CONNECTICUT 064 1 O



Edward Maldonado
D i s tr i c t Adm ini s tr at or


August 10.2018

lLtu       IIq,e,: 4 I 6 Q 9t 2
       Ti c p.t,
New Haven Coreclional Center
245 llhalley Avenue,
New Haven. CT 0651               I
Dear     Mr        Hayes:

This letter acknowledges receipt of your Security Risk Group Member Designation appeal receh)ed
August 8,2018. You are appealing your designation to the Security Risk Group Bloods.

An extensive review ofyow requestfor a Security Risk Group Designation Appeal was completed. It is
apparcnt that the Hearing Officer's fnding is reasonable and based on information and evidence
presented at a formal hearing. Documentation submitted to the presiding Hearing Oficer by the New
Haven Intelligence unit substanliates that you are cleally shown on Facebook displaying "Blood" hqnd
 siglls with a red bandana, to include other photos and posls that thal have gang identiJiers lhat associate
yiu as being a " Blood". There/ore, it has been determined that you meet the criteria, as described in
A.D. 6.l4,Security Risk Group, to ffiliate you as a Security Risk Group member'

My conclusion is that no serious due-process failure occurred in the disposition of your security risk
group  affliation designation and nothing could be found to support any modifcation ofthe Hearing
-Ofiier's
          clecision. For these reasons your designation as a " Blood", in accordcmce with A.D. 6.14,
Security Risk Groups is upheld and your designation v'ill remain.

Be advisetl that the decision at the District levei shall not be subiect to          further appeal'




D i s tr i c t A   d m inis tral or

EL[/db

C:            llarden Feliciano
              D is c ipl inary C o or d i nat or
              Remedies Coordinator
              File




                                                     An Equal Opportunity Enploter
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CONFIDENTIAL
 (FOR OFFICIAL USE ONLY}                                   Housino:   f /1':--,''
                  Case 3:18-cv-01758-JAM Document 1 Filed 10/26/18 Page 16 of 16

                              Restrictive Housing Unit Status Order                                    cN 9401/1
                                    Connecticut Depart--ment of     Correcti..t                       REV 6/16/16
                                                                                    t 2
Facility/Unit:     New Haven Coneciional Center                                              ,rn', -''-' -.-
Inmate   name; Hay*, Ticey                                                  lnmal e numb'

                                              SECTION 1 . STATUS
                 Placement in Restrictive Ho$ing Unit (chock and datc the appropriate descriptionl.

D        Transfer Detention                                                       Date:

 X       AdminlstrativeDebntion                                                   Date:     O7n5/2O18

 n       Punitive S€gregation                                                     Date:

 n       AdministmtiveSegregation                                                 Date:

 I       Administrative Segregation Transition                                    Date:

 U       Special Needs Management                                                 Date:

 U       Chronic Discipline                                                       Date:

 X       Special Circumstances Status                                             Date:

                                    SECTION 2 - REASON FOR PLACEMENT
The inmate's/my continued presence in the gpneral population poses a serious threat to life, property, setf, other
inmates, and/or the security of the facility because: Inmate Hayes, Ticey #369942 is being placed in RHU on
Administrative Detention status pending SRG Affiliation.




                                                                                            07/25/2018

                                                               [am       XPm iDate:         07/2s/2018
